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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________   District
 Southern District     of __________
                   of Texas

 Case number (If known): _________________________ Chapter 15                                                                                 Check if this is an
                                                                                                                                                  amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            Just Energy Group Inc.
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                  ✔
                                                       Federal Employer Identification Number (EIN)       9 ___
                                                                                                          ___ 8 – 1___ 0___ 3___ 5   1 ___
                                                                                                                                 ___ ___ 9 ___
                                                                                                                                            6

                                                       Other ___________________________. Describe identifier _____________________________.


                                           For individual debtors:

                                                       Social Security number:    xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                       Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      Just Energy Group Inc. and Michael Carter (authorized representative)
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign             In the Matter of a Plan of Compromise or Arrangement of Just Energy Group Inc.
                                           ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                                 Foreign main proceeding
                                                 Foreign nonmain proceeding
                                           ✔
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign                     A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.
                                           ✔
                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  (1) CCAA Order and (2) Board Resolutions Authorizing Foreign
                                                  _______________________________________________________________________________________
                                                  Representative
                                                  _______________________________________________________________________________________


7.   Is this the only foreign                    No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the               ✔
     foreign representative(s)?
                                                 Yes




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Debtor          Just Energy Group Inc.
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        Canada
                                        ______________________________________________                   100 King Street West, Suite 2630
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Toronto, Ontario M5X 1E1
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region ZIP/Postal Code


                                                                                                         Canada
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 5251 Westheimer Road, Suite 1000
                                                                                                         _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Houston, Texas                            77056
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________                 U.S.A.
                                                                                                         _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)              https://www.justenergy.com/
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:
                                         ✔
                                               Non-individual (check one):
                                                 ✔
                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify: ________________________________________________

                                               Individual




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Debtor        Just Energy Group Inc.
              _______________________________________________________                        Case number (if known)_____________________________________
              Name




12.   Why is venue proper in this      Check one:
      district?                             Debtor’s principal place of business or principal assets in the United States are in this district.
                                            Debtor does not have a place of business or assets in the United States, but the following
                                             action or proceeding in a federal or state court is pending against the debtor in this district:
                                             ___________________________________________________________________________.
                                       ✔
                                            If neither box is checked, venue is consistent with the interests of justice and the convenience
                                             of the parties, having regard to the relief sought by the foreign representative, because:
                                              The Chapter 15 case of an affiliate is pending in this district.
                                             ___________________________________________________________________________.



13.   Signature of foreign
      representative(s)                I request relief in accordance with chapter 15 of title 11, United States Code.

                                       I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                       relief sought in this petition, and I am authorized to file this petition.

                                       I have examined the information in this petition and have a reasonable belief that the
                                       information is true and correct.

                                       I declare under penalty of perjury that the foregoing is true and correct,


                                       8 /s/ Michael Carter
                                            ________________________________________________          Michael Carter
                                                                                                      _______________________________________________
                                           Signature of foreign representative                        Printed name


                                       Executed on         03/09/2021
                                                           __________________
                                                            MM / DD / YYYY



                                       8    ________________________________________________          _______________________________________________
                                           Signature of foreign representative                        Printed name


                                       Executed on         __________________
                                                            MM / DD / YYYY




14.   Signature of attorney
                                       8 /s/ Matthew D. Cavenaugh
                                            _________________________________________________ Date                  03/09/2021
                                                                                                                   _________________
                                            Signature of Attorney for foreign representative                       MM   / DD / YYYY


                                           Matthew   D. Cavenaugh
                                           _________________________________________________________________________________________________
                                           Printed name
                                           Jackson   Walker L.L.P.
                                           _________________________________________________________________________________________________
                                           Firm name
                                           1401  McKinney Street, Suite 1900
                                           _________________________________________________________________________________________________
                                           Number         Street
                                           Houston
                                           ____________________________________________________ TX          77010
                                                                                                 __________________________________________
                                           City                                                            State         ZIP Code


                                           (713) 752-4200
                                           ____________________________________                            mcavenaugh@jw.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address




                                           24062656                                               TX
                                           ______________________________________________________ ____________
                                           Bar number                                                      State




  Official Form 401                         Chapter 15 Petition for Recognition of a Foreign Proceeding                                    page 3
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                                              Exhibit 1

                                    Just Energy Group Inc.
                                 Corporate Ownership Statement

        Pursuant to rules 1007(a)(1)(A) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the following are corporations, other than a government unit, that directly or indirectly own 10%
or more of any class of the debtor’s equity interest:

         1. OC II LVS XIV LP

         2. LVS III SPE XV LP

         3. TOCU XVII LLC

         4. HVS XVI LLC


           For the Court’s convenience, a corporate structure chart is attached hereto.




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                    Corporate Structure Chart
                                                                                                                         Just Energy Group Inc.




12175592 Canada   11929747 Canada                                                                                                                                                                                                             Hudson Energy                                              Just Energy
                                                                                                                                                           8704104 Canada               Hudson Energy            Just Management                                        Just Energy (U.K.)
      Inc.              Inc.                                                                               Universal Energy                                                                                                                    Holdings UK                                            Finance Holding
                                                  Just Energy Corp.                                                                                             Inc.                     Canada Corp.               Corp. **(1)                                              Limited
                                                                                                             Corporation                                                                                                                         Limited                                                     Inc.


                                                                                                                                                                                                                                                                                                         Just Energy
                                                                                     Just Energy Trading                                                                JE Services Holdco                                                                                Just Energy
                                                                                                                                                                                                                                                                                                     (Finance) Hungary
                                                                                             L.P.                                                                              I Inc.                                                                                   Germany GmbH
                                Just Energy                                                                                                                                                                                                                                                                  Zrt.
                                 Advanced                                                                                                                                                       JEBPO Services LLP
                              Solutions Corp.
                                                                   Just Energy                                                                                          JE Services Holdco                                                                                Just Energy
                                                                  Manitoba L.P.                                                                                                II Inc.                                                                                 Deutschland GmbH
                                                                                                                                                                                                                                                                             **(2)
                            JEAS Holdings L.P.
                                                                 Just Energy (B.C.)
                                                                      Limited                                                                                            Filter Group Inc.
                                                                    Partnership                                                                                                                                      Just Holdings L.P.


                                                                      Just Energy                                                                                        Filter Group USA
                                                                      Ontario L.P.                                                                                               Inc.                                                            Just Energy
                                                                                                                                                                                                                                              (Ireland) Limited
                             Just Ventures GP
                                   Corp.


                                                                  Just Green L.P.
                             Just Ventures L.P.

                                                                                                                    Ontario Energy Commodities Inc.
                                                                Just Energy Alberta
                                                                        L.P.


                                                                Just Energy Prairies
                                                                        L.P.                                 Just Energy
                                                                                                           Services Limited                     Just Energy
                                                                                                                                              Finance Canada
                                                                      Just Energy                                                                   ULC
                                                                      Québec L.P.




                                                                                                                                                                 Just Energy (U.S.) Corp.




                                                                                                                    Just Solar Holdings           Just Energy Indiana                   Just Energy                    Just Energy Illinois            Hudson Energy                    Fulcrum Retail
                                                                                                                           Corp.                         Corp.                       Pennsylvania Corp.                       Corp.                        Corp.                         Holdings LLC



                                                                                                                       Just Energy                     Just Energy
                                                                                                                                                                                     Just Energy Limited                   Just Energy                 Hudson Parent
                                                                                                                      Massachusetts                   Solutions Inc.                                                                                                                                Tara Energy, LLC
                                                                                                                                                                                                                        Connecticut Corp.               Holdings LLC
                                                                                                                          Corp.
                                                                                                                                                                                                                                                                                                                                         Case 21-30823 Document 1 Filed in TXSB on 03/09/21 Page 6 of 47




                                                                                                                                                   American Home                        Just Energy
                                                                                                                       Just Energy                 Energy Services                                                       Momentis U.S.                             Drag Marketing                   Fulcrum Retail
                                                                                                                      Michigan Corp.                                                   Marketing Corp.                      Corp.                                       LLC                           Energy LLC
                                                                                                                                                       Corp.


                                                                                                                                                  Just Energy Texas I                                                   Just Energy New                           Interactive Energy
                                                                                                                                                                                      Just Ventures LLC
                                                                                                                                                         Corp.                                                             York Corp.                                 Group LLC


                                                                                                                                                                                                                           Just Energy
                                                                                                                                                                                                                                                                                    Hudson Energy
                                                                                                                                                                  Just Energy, LLC                                          Advanced
                                                                                                                                                                                                                                                                                     Services LLC
                                                                                                                                                                                                                          Solutions LLC
                                                                                                                                                                                                                                                                                                    **NOTES:
                                                                                                                                                                 Just Energy Texas                                                                                                                  (1) Owns approximately 7.8% of Ecobee Inc.
                                                                                                                                                                                                                                                                                                    (2) 5% owned by the German Managing
                                                                                                                                                                         LP
                                                                                                                                                                                                                                                                                                    Director and Founderthrough related
                                                                                                                                                                                                                                                                                                    corporate entity
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                                         Exhibit 2

                 Pending Foreign Proceedings with Respect to the Debtors

        On March 9, 2021, Just Energy Group Inc. and forty-seven affiliated companies
(collectively, the “Debtors”) commenced a proceeding in the Ontario Superior Court of Justice
under section under the Companies’ Creditors Arrangement Act, R.S.C. 1985, c. C-36.
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                                            Exhibit 3

                              Rule 1007(a)(4) Schedule of Parties

       Pursuant to rule 1007(a)(1)(B) of the Federal Rules of Bankruptcy Procedure, the
following are all persons or bodies authorized to administer foreign proceedings of the Debtor:

                    Authority                                          Contact

Jonah T. Davids                                 100 King Street West, Suite 2630
(Just Energy Group Inc. — EVP, General Counsel, Toronto, ON, M5X 1E1
and Corporate Secretary)                        Canada

Michael Carter                                        100 King Street West, Suite 2630
(Just Energy Group Inc. — Chief Financial             Toronto, ON, M5X 1E1
Officer)                                              Canada

Just Energy Group Inc.                                100 King Street West, Suite 2630
                                                      Toronto, ON, M5X 1E1
                                                      Canada



        The following is a list of pending litigation in which the Debtors are a party in the United
States at the time of filing of this petition:

       x       Hurt, et al. v. Commerce Energy, Inc., Case No. 18-4058 (6th Cir. Oct.
               30, 2018);

       x       Chui v. Just Energy New York Corp., Case No. CV-052305-14/K1 (Civil
               Ct. N.Y.C. Sept. 10, 2014);

       x       Donin, et al. v. Just Energy Group Inc., et al., Case No. 17-cv-05787-
               WFK-SJB (E.D.N.Y. Oct. 3, 2017);

       x       Gardnerville Realty LLC d/b/a 160 Associates v. Hudson Energy
               Services LLC, Case No. 651057-2018 (N.Y. Sup. Ct. Mar. 6, 2018);

       x       Jordet v. Just Energy Solutions, Inc., Case No. 18-cv-00953-WMS
               (W.D.N.Y. Aug. 30, 2018);

       x       White, et al. v. Just Energy Group Inc., et al., Case No. 20-cv-00590
               (S.D. Tex. Feb. 2, 2020);

       x       Pariveda Solutions, Inc. v. Just Energy (U.S.) Corp., Case No. DC-19-
               16667 (Tex. D. Ct. Oct. 14, 2019);
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       x       Energy Earth, LLC v. Just Energy (U.S.) Corp., Case No. 2020-22395
               (Tex. D. Ct. Apr. 8, 2020);

       x       Hudson Energy Services, LLC v. Sun Holdings Inc., Case No. 20-
               2057359 (D. Tex. Sept. 17, 2020);

       x       Eagle Railcar Services LP v. Hudson Energy Services, LLC, DC-21-
               01130 (Tex. D. Ct. 2021); and

       x       Insys Liquidation Trust v. Just Energy Group, Inc., Case No. 1:21-ap-
               50166 (Bankr. D. Del. Feb. 23, 2021).



       A list of all entities against whom the Debtors are seeking provisional relief under section
1519 of the Bankruptcy Code may be obtained on the website of the Debtors’ claims and
noticing agent at www.omniagentsolutions.com/justenergy. A copy of the information can also
be obtained by emailing the Debtors’ claims and noticing agent at justenergy@omniagnt.com
with the subject “Just Energy.”




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                             Exhibit 4

        Board Resolutions Authorizing Foreign Representative
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                                 JUST ENERGY GROUP INC.
                                     (the “Corporation”)

                    CERTIFIED RESOLUTIONS OF THE DIRECTORS


        I, JONAH DAVIDS, Executive Vice President, General Counsel and Corporate Secretary
of the Corporation, do hereby certify, for and on behalf of the Corporation, and not personally, that
attached as Schedule “A” is a true and complete copy of the resolutions (the “Resolutions”) passed
by the Board of Directors of the Corporation. The Resolutions are in full force and effect and are
the only resolutions, approval or similar authorization of the Directors of the Corporation
specifically dealing with this subject matter.
The undersigned acknowledges that this Certificate may be relied on when delivered by electronic
facsimile or portable document format (PDF).


       DATED this 9th day of March, 2021




                                          _____________________________________________
                                              JONAH DAVIDS
                                              Executive Vice President, General Counsel and
                                              Corporate Secretary
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                                       6&+('8/(³$´

                JOINT RESOLUTIONS OF THE JUST ENERGY ENTITIES
                      SET FORTH ON SCHEDULE “A” HERETO

PASSED EFFECTIVE the 8th day of March, 2021.

These joint resolutions (the “Joint Resolutions”) constitute corporate authority in accordance
with applicable law by all of the members of the boards of directors of each of the Just Energy
Entities (as defined in Schedule “A” hereto; each such board of directors, the “Directors”), with
all of the undersigned waiving any required notice of time, place and purpose of meeting, and are
passed as evidenced by the signatures of the undersigned, being all of the directors of each of the
Just Energy Entities.

RECITALS:

WHEREAS the Just Energy Entities are facing short-term liquidity challenges as a result of the
recent catastrophic winter storm in Texas, which caused higher than normal customer demand
while forcing significant supply offline. As a result, the Just Energy Entities were forced to
balance demand through spot market purchases. The unprecedented weather event also led
certain Texas energy regulators to set artificially high electricity prices and increased ancillary
costs. Consequently, the Just Energy Entities have incurred significant losses.

AND WHEREAS the Directors of each Just Energy Entity have examined the evidence
presented by members of the Just Energy Entities’ management teams and the Just Energy
Entities’ advisors, and have considered the resulting liquidity issues of the Just Energy Entities
as a whole from the recent weather event in Texas. As such, the Directors of each Just Energy
Entity have concluded that it is in the best interests of such Just Energy Entity to seek protective
measures against the taking or continuance of any action, proceeding or enforcement process
against such Just Energy Entity, to prevent the taking of any other steps by any person
detrimental to the affairs and operations of such Just Energy Entity and to seek to restructure the
affairs of such Just Energy Entity. As a result, it is desirable and in the best interests of each Just
Energy Entity that an application be filed by each Just Energy Entity listed as an “Applicant” in
Schedule “A” hereto for protection in respect of all of the Just Energy Entities under the
Companies’ Creditors Arrangement Act (the “CCAA”), and for Just Energy Group Inc.
(“JEGI”) to seek ancillary relief in respect of such Just Energy Entities under Chapter 15 of the
U.S. Bankruptcy Code (“Chapter 15”).

AND WHEREAS in order to facilitate and encourage the continued participation of certain
officers and other key employees in the restructuring of the affairs of the Just Energy Entities
under the CCAA and Chapter 15, the Just Energy Entities, in consultation with FTI Consulting
Canada Inc., the proposed monitor (the “Proposed Monitor”), have developed a Key Employee
Retention Plan (the “KERP”).

AND WHEREAS to facilitate the CCAA proceedings and Chapter 15 proceedings, certain of
the Just Energy Entities propose to, in the respective capacities set out therein, enter into
restructuring support agreements (the “Support Agreements”) with (i) Shell Energy North
America (Canada) Inc., Shell Energy North America (US), L.P., and Shell Trading Risk
Management, LLC (collectively, “Shell”); and (ii) BP Canada Energy Company, BP Canada
Energy Marketing Corp., BP Energy Company, BP Corporation North America Inc., and BP
Canada Energy Group ULC (collectively, “BP”), pursuant to which Shell and BP will each
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separately agree to, among other things, temporarily waive and forbear from exercising
Termination Rights pursuant to the Existing Agreements (each as defined in the respective
Support Agreement), in accordance with the terms and conditions set forth in the Support
Agreements.

AND WHEREAS to facilitate the CCAA proceedings and Chapter 15 proceedings, Just Energy
Ontario L.P. (“JEOLP”) and Just Energy (U.S.) Corp. (“JEUSC”) propose to enter into certain
support arrangements with lenders party to the Ninth Amended and Restated Credit Agreement
dated as of September 28, 2020 (as amended, restated, supplemented or otherwise modified from
time to time, the “Credit Agreement”) by and among JEOLP and JEUSC, as borrowers, the
lenders from time to time party thereto (the “Credit Facility Lenders”), and National Bank of
Canada, as administrative agent (the “Credit Facility Agent”). The proposed support
arrangements contemplate that the Credit Facility Agent and the Credit Facility Lenders will
enter into a support agreement with some or all of the Just Energy Entities and agree to, among
other things, support the CCAA proceedings and Chapter 15 proceedings and standstill and not
take any action (directly or indirectly) as a creditor or with any other creditor with respect to
their respective rights and remedies under the Credit Agreement (the “Credit Facility Support
Arrangements”).

AND WHEREAS each of the Just Energy Entities, in the applicable capacities set out hereto,
wish to enter into a senior secured superpriority debtor-in-possession term sheet (the “DIP Term
Sheet”) dated on or about March 8, 2021, and made between JEGI, JEOLP and JEUSC, as
borrowers (the “Borrowers”), each of the Just Energy Entities, as guarantors, LVS III SPE XV,
TOCU XVII LLC, HVS XVI LLC and OC II LVS XIV LP, as lenders (collectively, the “DIP
Lender”) and Alter Domus (US) LLC, as agent for the DIP Lender (the “DIP Agent”) in
connection with the proceedings under the CCAA. Pursuant to the DIP Term Sheet, the DIP
Lender shall extend a credit facility to the Borrowers of up to US$125 million (the “DIP Credit
Facility”).

AND WHEREAS each of the Just Energy Entities has agreed to grant security in favour of the
DIP Agent, for the benefit of the DIP Lender, in order to secure, inter alia, the repayment of
funds advanced to the Borrowers under the DIP Credit Facility and the Just Energy Entities’
other obligations under the DIP Term Sheet, by seeking a court-ordered charge against and
attaching to the Property (as defined in the DIP Term Sheet) in favor of the DIP Agent, for the
benefit of the DIP Lender, and by entering into such security documents in favour of the DIP
Agent, for the benefit of the DIP Lender, as may be required under the terms of the DIP Term
Sheet (collectively, the “DIP Security”).

AND WHEREAS JEGI has entered into an agreement dated February 20, 2021 engaging BMO
Nesbitt Burns Inc., as financial advisor (the “Financial Advisor”) in connection with the
restructuring of the Just Energy Entities (the “Financial Advisor Agreement”).

AND WHEREAS in considering these matters, the Directors of each Just Energy Entity have
consulted their management teams, counsel to the Just Energy Entities, the Financial Advisor
and the Proposed Monitor and received and reviewed information concerning the financial
position and prospects of the Just Energy Entities, including the draft 13-week cash flow
forecasts of the Just Energy Entities prepared by management, in consultation with the Proposed
Monitor (the “Cash Flow Statements”), as well as advice from these various parties.
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AND WHEREAS the Directors of each applicable Just Energy Entity wish to provide such
approvals as are necessary to authorize the applicable Just Energy Entity to commence the
CCAA proceedings and Chapter 15 proceedings and deliver such notices as are required in
connection therewith.

NOW THEREFORE BE IT RESOLVED THAT:

Filings under the Companies’ Creditors Arrangement Act

1.    Each of the Just Energy Entities listed as an “Applicant” in Schedule “A” hereto is
      hereby authorized and directed to:

      (a)    make an application under the CCAA to the Ontario Superior Court of Justice
             (Commercial List) (the “Court”) to commence proceedings under the CCAA and
             seek protection from its creditors, which application may be consolidated with
             that of any of the subsidiaries and affiliates of such Just Energy Entity;

      (b)    seek the appointment of the Proposed Monitor in the CCAA proceedings;

      (c)    seek approval of the KERP, DIP Term Sheet, the Support Agreements and the
             Financial Advisor Agreement;

      (d)    seek the assistance of any court, tribunal, regulatory or administrative body
             having jurisdiction in Canada, the United States or any other nation or state to
             recognize the proceedings under the CCAA or to give effect to any order made in
             the proceedings under the CCAA, including, without limitation, proceedings
             under Chapter 15; and

      (e)    take any other action or proceeding in Canada, the United States or any other
             nation or state to contest or defend any action or proceeding by any creditor or
             other person in Canada, the United States, or any other nation or state.

Filings under Chapter 15 of the U.S. Bankruptcy Code

2.    Subject to Court approval, JEGI is hereby authorized and directed to act as the foreign
      representative in respect of the CCAA proceedings for the purpose of having the
      proceedings recognized in any jurisdiction outside of Canada, and to apply for foreign
      recognition and approval of the CCAA proceedings in the United States pursuant to
      Chapter 15 of the U.S. Bankruptcy Code and in any other jurisdiction, as necessary,
      outside of Canada.

3.    The retention of Kirkland & Ellis LLP as Chapter 15 counsel and the retention of Jackson
      Walker as local Texas counsel is hereby authorized and approved and management shall
      work with such law firms to prosecute the Chapter 15 bankruptcy cases in the U.S.
      Bankruptcy Court for the Southern District of Texas and to have the CCAA proceedings
      recognized in the United States, and to take such steps, execute such pleadings, and
      appear in the court as may be necessary to implement such recognition.
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Key Employee Retention Plan

4.     Subject to the approval of the Court, the adoption and implementation of the KERP,
       including the funding thereof and, together with the payment of the amounts provided for
       therein in accordance with the KERP, in substantially the amounts and on substantially
       the terms set forth in Schedule “B” attached hereto, is hereby authorized and approved by
       the Directors of each applicable Just Energy Entity.

Support Agreements

5.     The Directors of each applicable Just Energy Entity hereby determine that the entering
       into of each of the Support Agreements by such applicable Just Energy Entity in the
       capacity set out therein is in the best interests of such Just Energy Entity.

6.     The Support Agreements, substantially in the forms presented to the Directors of each
       applicable Just Energy Entity, are each hereby approved, and each applicable Just Energy
       Entity is authorized to enter into and to perform its obligations under the respective
       Support Agreement(s).

Credit Facility Support Arrangements

7.     The Credit Facility Support Arrangements, on substantially the terms presented to the
       Directors of each of the Just Energy Entities, are hereby approved and the Just Energy
       Entities are authorized to enter into and to perform their respective obligations
       thereunder, subject to the execution of documentation acceptable to management of the
       Just Energy Entities.

8.     The Directors of each of the Just Energy Entities hereby authorize any director or officer
       of each Just Energy Entity to negotiate, finalize and, if deemed appropriate and in the
       best interests of the applicable Just Energy Entity, to execute any support agreements or
       other documentation required in connection with the proposed Credit Facility Support
       Arrangements, or to do all such other acts and things as are required or as such director or
       officer, in such director’s or officer’s sole discretion, may determine to be necessary or
       desirable in order to facilitate the Credit Facility Support Arrangements in connection
       with the proposed proceedings under the CCAA and Chapter 15 (such determination to
       be conclusively evidenced by such director’s or officer’s execution and delivery of any
       such documents or instruments or the taking of any such action, as the case may be).

DIP Credit Facility

9.     The form, terms, and provisions of the DIP Term Sheet and each Loan Document (as
       defined in the DIP Term Sheet), and each other document delivered pursuant to the DIP
       Security, the transactions contemplated therein (including, without limitation, the
       borrowings under the DIP Term Sheet), the guarantees, liabilities, obligations, security
       interests granted, and notes issued, if any, in connection therewith, with all such changes,
       additions, and modifications thereto as a Director executing the same shall approve, be
       and hereby are authorized, adopted, and approved in substantially the forms presented to
       the Directors of each of the Just Energy Entities.
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10.   Each of the Just Energy Entities is authorized and directed to enter into, incur and
      perform its respective obligations under the DIP Term Sheet and the other Loan
      Documents, upon the terms and conditions set forth in the DIP Term Sheet, and to
      borrow from the DIP Lender and/or guarantee the DIP Credit Facility, as applicable, in
      accordance with the terms of the DIP Term Sheet.

11.   Each of the Just Energy Entities is authorized and directed to grant, enter into and
      perform its respective obligations under the DIP Security and all such further and other
      security as may be required by the DIP Agent or the DIP Lender from time to time.

12.   The Cash Flow Statements in substantially the form attached as Schedule “C” hereto and
      the related assumptions have been duly prepared by management of the Just Energy
      Entities, in consultation with the Proposed Monitor, and are hereby approved by the
      Directors of each of the Just Energy Entities.

13.   The pledge and/or transfer by the shareholder(s) or unitholder(s) of all shares or units in
      each of the Just Energy Entities, plus whatever additional shares or units in each of the
      Just Energy Entities may hereafter be issued or transferred to their shareholder(s) or
      unitholder(s) (collectively, the “Capital Stock”), to the DIP Agent pursuant to terms of
      the DIP Security or the CCAA Orders (as such term is defined in the DIP Term Sheet) or
      its nominee from time to time as security is approved.

14.   The transfer of the Capital Stock by the DIP Agent to one or more transferees consequent
      upon realization of the DIP Agent’s security over the Capital Stock pursuant to terms of
      the DIP Security or the CCAA Orders are approved.

15.   The proper officers of each of the Just Energy Entities are irrevocably authorized and
      directed to issue new certificates representing the Capital Stock to the DIP Agent or to
      the DIP Agent’s nominees or transferees on the written request of the DIP Agent or its
      duly authorized representative, agent or attorney (including any receiver appointed by the
      DIP Agent) without further consent, approval or other action being required by its
      shareholder(s), unitholder(s) or Directors, in accordance with the terms of the DIP
      Security or the CCAA Orders.

16.   Each of the directors or officers of the Just Energy Entities is authorized to execute and
      deliver any amendments, supplements, modifications, renewals, replacements,
      consolidations, substitutions, and extensions of the DIP Credit Facility or any of the Loan
      Documents or to do such other things which shall in their sole judgment be necessary,
      desirable, proper, or advisable to give effect to the foregoing resolutions, which
      determination shall be conclusively evidenced by his/her or their execution thereof.

17.   To the extent that any entity serves as the sole member, general partner, managing
      member, equivalent manager, or other governing body of any limited liability company,
      corporation or partnership (each such entity, a “Controlled Company”), each director or
      officer signing on behalf of any of the Just Energy Entities, as applicable, is authorized
      and empowered to take each of the actions described in these resolutions or any of the
      actions authorized by these resolutions on behalf of the applicable Controlled Company.
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Financial Advisor Agreement

18.   JEGI is authorized to enter into and perform its obligations under the Financial Advisor
      Agreement, upon the terms and conditions set forth in the Financial Advisor Agreement,
      and to make the payments contemplated thereunder in accordance with the terms of the
      Financial Advisor Agreement.

Press Releases

19.   The issuance of (i) a press release by JEGI announcing the filing of an application for
      protection under the CCAA by the applicable Just Energy Entities, and (ii) subject to
      Court approval, a press release by JEGI announcing the granting of an Initial Order by
      the Court under the CCAA, substantially in the forms presented to the Directors of JEGI,
      are hereby authorized and approved, with such additions, deletions or alterations as may
      be approved by any director or officer of JEGI.

General

20.   Any one director or officer of each Just Energy Entity is authorized and directed, on
      behalf of such Just Energy Entity, to negotiate, finalize, execute the DIP Term Sheet, the
      Support Agreements and the Credit Facility Support Arrangements, swear such affidavits,
      register or file such further documents, agreements (including any amendments to the
      DIP Term Sheet, the Support Agreements or any documentation relating to the Credit
      Facility Support Arrangements), authorizations, elections, endorsements, financing
      statements, registrations, certificates and instruments (with or without the corporate seal
      affixed) and to execute and deliver any amendments, supplements, modifications,
      renewals, replacements, consolidations, substitutions, and extensions of the DIP Credit
      Facility, any of the Loan Documents, the Support Agreements or any documentation
      relating to the Credit Facility Support Arrangements or to do all such other acts and
      things as are required or as such director or officer, in such director’s or officer’s sole
      discretion, may determine to be necessary or desirable in order to facilitate the
      transactions contemplated by the DIP Term Sheet, the Support Agreements and the
      Credit Facility Support Arrangements and the commencement and conduct of
      proceedings under the CCAA and Chapter 15, such determination to be conclusively
      evidenced by such director’s or officer’s execution and delivery of any such documents
      or instruments or the taking of any such action, as the case may be.

21.   Without limiting section 20 above, any director or officer of each applicable Just Energy
      Entity is authorized on behalf of such Just Energy Entity to sign, execute and deliver any
      shareholder resolution, unanimous shareholder agreement resolution or shareholder
      declaration or partnership resolution with respect to any entity in which such Just Energy
      Entity is a shareholder, general partner or limited partner or equivalent to give effect to
      any of the actions contemplated in section 20 above with respect to any entity in which
      such Just Energy Entity is a shareholder, general partner or limited partner of equivalent
      of any of the foregoing.
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22.   Any agreements, instruments or other documents executed and delivered and any and all
      acts and things done by any officer or director on or before the date hereof determined to
      be necessary or desirable by such officer or director related to the proposed CCAA
      proceedings or Chapter 15 proceedings are ratified, approved and confirmed in all
      respects.

23.   These resolutions may be executed in counterparts and delivered by facsimile or portable
      document format (PDF), each of which when so executed and delivered shall be an
      original, but all such counterparts together shall constitute one and the same instrument
      and, notwithstanding the date of execution of any such counterpart, shall be deemed to
      have been executed on the date set forth above.

                                 [Signature page to follow]
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                                  SCHEDULE “A”

                                 Just Energy Entities

Applicants

1. JUST ENERGY GROUP INC.

2. JUST ENERGY CORP.

3. ONTARIO ENERGY COMMODITIES INC.

4. UNIVERSAL ENERGY CORPORATION

5. JUST ENERGY FINANCE CANADA ULC

6. HUDSON ENERGY CANADA CORP.

7. JUST MANAGEMENT CORP.

8. JUST ENERGY FINANCE HOLDING INC.

9. 11929747 CANADA INC.

10. 12175592 CANADA INC.

11. JE SERVICES HOLDCO I INC.

12. JE SERVICES HOLDCO II INC.

13. 8704104 CANADA INC.

14. JUST ENERGY ADVANCED SOLUTIONS CORP.

15. JUST ENERGY (U.S.) CORP.

16. JUST ENERGY ILLINOIS CORP.

17. JUST ENERGY INDIANA CORP.

18. JUST ENERGY MASSACHUSETTS CORP.

19. JUST ENERGY NEW YORK CORP.

20. JUST ENERGY TEXAS I CORP.

21. JUST ENERGY, LLC

22. JUST ENERGY PENNSYLVANIA CORP.

23. JUST ENERGY MICHIGAN CORP.

24. JUST ENERGY SOLUTIONS INC.
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25. HUDSON ENERGY SERVICES LLC

26. HUDSON ENERGY CORP.

27. INTERACTIVE ENERGY GROUP LLC

28. HUDSON PARENT HOLDINGS LLC

29. DRAG MARKETING LLC

30. JUST ENERGY ADVANCED SOLUTIONS LLC

31. FULCRUM RETAIL ENERGY LLC

32. FULCRUM RETAIL HOLDINGS LLC

33. TARA ENERGY, LLC

34. JUST ENERGY MARKETING CORP.

35. JUST ENERGY CONNECTICUT CORP.

36. JUST ENERGY LIMITED

37. JUST SOLAR HOLDINGS CORP.

38. JUST ENERGY (FINANCE) HUNGARY ZRT.

Partnerships

1. JUST ENERGY ONTARIO L.P.

2. JUST ENERGY MANITOBA L.P.

3. JUST ENERGY (B.C.) LIMITED PARTNERSHIP

4. JUST ENERGY QUÉBEC L.P.

5. JUST ENERGY TRADING L.P.

6. JUST ENERGY ALBERTA L.P.

7. JUST GREEN L.P.

8. JUST ENERGY PRAIRIES L.P.

9. JEBPO SERVICES LLP

10. JUST ENERGY TEXAS LP
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                                                      Exhibit 5

                                                   CCAA Order1




1
    In the interest of time, a copy of the entered order is attached. Just Energy will file a certified copy of the order
    as soon as practicable
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